   Case 2:10-md-02179-CJB-DPC Document 2214-2 Filed 04/29/11 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater *      MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April *
   20, 2010                                 *     SECTION J
                                            *
                                            *
This document relates to:                   *
MDL 2179 Master Complaint and All Cases *         Honorable CARL J. BARBIER
in Pleading Bundle C.                       *
                                            *     Magistrate Judge SHUSHAN
This document relates to:                   *
No. 10-2771 (Limitation Action)             *


                                NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE that the undersigned parties shall bring on for hearing their

Motion to Dismiss the Local Government Entity Master Complaint before the Honorable Carl J.

Barbier, United States District Court, Eastern District of Louisiana, 500 Poydras Street, New

Orleans, Louisiana, 70130 at 9:30 a.m. on the 6th day of July, 2011, or as soon thereafter as

counsel may be heard

       .

                                               Respectfully submitted,

                                               By: /s/ Don K. Haycraft
                                               Don K. Haycraft (Bar #14361)\)
                                               R. Keith Jarrett (Bar #16984)
                                               LISKOW & LEWIS
                                               One Shell Square
                                               701 Poydras Street, Suite 5000
                                               New Orleans, Louisiana 70139-5099
                                               Telephone: (504) 581-7979
                                               Facsimile: (504) 556-4108
Case 2:10-md-02179-CJB-DPC Document 2214-2 Filed 04/29/11 Page 2 of 3




                                  Richard C. Godfrey, P.C.
                                  J. Andrew Langan, P.C.
                                  Andrew B. Bloomer, P.C.
                                  KIRKLAND & ELLIS LLP
                                  300 North LaSalle Street
                                  Chicago, Illinois 60654
                                  Telephone: (312) 862-2000

                                  Robert C. “Mike” Brock
                                  Covington & Burling LLP
                                  1201 Pennsylvania Avenue, NW
                                  Washington, DC 20004-2401
                                  Telephone: (202) 662-5985
                                  Facsimile: (202) 662-6291
                                  Attorneys for BP
   Case 2:10-md-02179-CJB-DPC Document 2214-2 Filed 04/29/11 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 29th day of April, 2011.



                                                   /s/ Don K. Haycraft
                                                   Don K. Haycraft
